                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
F. #2020R00926                                      271 Cadman Plaza East
                                                    Brooklyn, New York 11201


                                                    March 1, 2021

BY EMAIL AND ECF

The Honorable Margo K. Brodie
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Goldman Sachs (Malaysia) Sdn. Bhd., 20-CR-438 (MKB)

Dear Judge Brodie:

               On October 22, 2020, the defendant in the above-captioned matter, Goldman
Sachs (Malaysia) Sdn. Bhd. (“Goldman Malaysia”), pled guilty to a one-count information
charging conspiracy to violate the anti-bribery provisions of the Foreign Corrupt Practices Act.
The Court initially set the sentencing hearing for December 11, 2020. The parties subsequently
requested an adjournment of that sentencing hearing, which was rescheduled to March 3, 2021.
The parties now jointly request a second adjournment of the sentencing hearing to the week of
May 10, 2021.

               As the government noted at the plea hearing, Goldman Malaysia’s parent
company, The Goldman Sachs Group, Inc. (“Goldman Sachs”), has submitted an application for
an individual exemption to the Department of Labor (“DOL”) for Goldman Sachs’ affiliates to
continue to be able to use the Qualified Professional Asset Manager (“QPAM”) exemption. It is
our understanding that the notice and comment period for the application has almost concluded,
after which DOL will need some additional time to reach a final decision on Goldman Sachs’
application. As a result, the parties are asking for a brief additional adjournment of the
sentencing date to allow DOL process to complete its process.
               Please let us know if you have any questions or need any additional information.

                                                         Respectfully submitted,

                                                         SETH D. DUCHARME
                                                         Acting United States Attorney
                                                         Eastern District of New York

                                                   By:    /s/ Alixandra Smith
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       U.S. Department of Justice                        U.S. Department of Justice

 By:    /s/ Katherine Nielsen                      By:     /s/ Jennifer Ambuehl
       Katherine A. Nielsen                              Jennifer E. Ambuehl
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cc:     Defense Counsel (by email)




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